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               EXHIBIT C
              Case 4:22-md-03047-YGR   Document Ì¸»
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                                                    Ñ®¼»® ±º ¬¸» Ý±«®¬ ·- -¬¿¬»¼ ¾»´±©æ
                                                Ü¿¬»¼æ Ö«´§ îëô îðîì     ñ-ñ ÕÛÒÌ ØÑÔÓÞÛÎÙ
                                                       ðçæìçæðé ßÓ           Ü·-¬®·½¬ Ý±«®¬ Ö«¼¹»




Ö«´§ îëô îðîì ðçæìç ßÓ                                                                              ï ±º ïé
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Ö«´§ îëô îðîì ðçæìç ßÓ                                                                   î ±º ïé
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Ö«´§ îëô îðîì ðçæìç ßÓ                                                                   í ±º ïé
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Ö«´§ îëô îðîì ðçæìç ßÓ                                                                   ì ±º ïé
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Ö«´§ îëô îðîì ðçæìç ßÓ                                                                   ë ±º ïé
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Ö«´§ îëô îðîì ðçæìç ßÓ                                                                   ê ±º ïé
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Ö«´§ îëô îðîì ðçæìç ßÓ                                                                   é ±º ïé
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Ö«´§ îëô îðîì ðçæìç ßÓ                                                                   è ±º ïé
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Ö«´§ îëô îðîì ðçæìç ßÓ                                                                   ç ±º ïé
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Ö«´§ îëô îðîì ðçæìç ßÓ                                                                   ïð ±º ïé
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Ö«´§ îëô îðîì ðçæìç ßÓ                                                                   ïï ±º ïé
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Ö«´§ îëô îðîì ðçæìç ßÓ                                                                   ïî ±º ïé
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Ö«´§ îëô îðîì ðçæìç ßÓ                                                                   ïí ±º ïé
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Ö«´§ îëô îðîì ðçæìç ßÓ                                                                   ïì ±º ïé
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Ö«´§ îëô îðîì ðçæìç ßÓ                                                                   ïë ±º ïé
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Ö«´§ îëô îðîì ðçæìç ßÓ                                                                   ïê ±º ïé
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Ö«´§ îëô îðîì ðçæìç ßÓ                                                                   ïé ±º ïé
